         Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

ANN WISEMAN and SARA HOWARD
individually and on behalf of all
others similarly situated                                                     PLAINTIFFS

        v.

TRANSAMERICA LIFE INSURANCE COMPANY                                          DEFENDANT


                           COLLECTIVE-ACTION COMPLAINT


        Come now Plaintiffs, Ann Wiseman and Sara Howard, by and through their

attorneys, Holleman & Associates, P.A., and for their Collective-Action Complaint

against Transamerica Life Insurance Company, states a~d alleges ~s follows:.      .     w      ~

                                       I. INTRODUCTION    fhi~.· ·.C~S~ a...S~I~ned to ~1stnct J~~
        1.       This is a collective action under the   Fa~:h~~~~~H~~:::r~~d~~·tf~~~ ~~~~
owed.

        2.       Defendant Transamerica Life Insurance Company ("Transamerica")

provides life insurance, both directly to consumers and through employer-sponsored

plans. As part of its operations, Transamerica has a call center and payment processing

facility in Little Rock, Arkansas. Plaintiffs are billing specialists who work in the Little

Rock facility.

        3.       Billing specialists typically work 9 hour shifts, five days a week. Because

of the large volume of processing that must be completed, billing specialists must work

off the clock - both before and after their shifts and during one-hour unpaid lunch

                                         Page 1 of12
            Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 2 of 15




breaks. Transamerica is aware that billing specialists work off-the-clock, but it does not

compensate them for this time.

           4.   Plaintiffs bring this suit on behalf of themselves and all other billing

specialists at the Little Rock, Arkansas facility. Plaintiffs seek to recover back wages

owed under the Fair Labor Standards Act, liquidated damages, and their costs,

expenses and attorneys' fees.

                           II. PARTIES, JURISDICTION, AND VENUE

           5.   Plaintiff Ann Wiseman is a resident of Little Rock, Pulaski County,

Arkansas, and she is a citizen of the state of Arkansas. She worked for Transamerica as

premium billing specialist at its Little Rock, Arkansas call center. At all relevant times,

Wiseman was classified as hourly and non-exempt from the overtime and minimum

wage requirements of the FLSA. Her consent to join this action is attached as Exhibit

II   A."

           6.   Plaintiff Sara Howard is a resident of Alexander, Saline County, Arkansas,

and she is a citizen of the state of Arkansas. She worked for Transamerica as a premium

billing specialist at its Little Rock, Arkansas call center. At all relevant times, Howard

was classified as hourly and non-exempt from the overtime and minimum wage

requirements of the FLSA. Her consent to join this action is attached as Exhibit "B."

           7.   Defendant Transamerica Life Insurance Company ("Transamerica") is an

insurance company registered to do business in Arkansas. Transamerica is an

"employer" of Plaintiffs and other similarly-situated employees, as defined by 29 U.S.C.

§ 203( d). Transamerica operates a processing facility and call center in Little Rock,

                                        Page 2 of 12
          Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 3 of 15




Arkansas, which is located at 1400 Centerview Drive, Little Rock, Arkansas 722111.

Transamerica can be served through its registered agent, The Corporation Company, at

124 West Capitol Avenue, Suite 1900, Little Rock, Arkansas 72201.

       8.        At all times relevant herein, Transamerica was the employer of Plaintiffs

and all other similarly-situated employees as defined by 29 U.S.C. § 203(d).

       9.        Plaintiffs and all similarly-situated employees seek an action for

declaratory judgment under 28 U.S.C. §§ 2201 and 2202 and for compensation and other

relief under the FLSA, as amended, 29 U.S.C. §§ 215, 216(b) and 217.

      10.       Jurisdiction of this action is conferred on the Court by 29 U.S.C. §§ 216(b),

217; 28 U.S.C. § 1331 and 28 U.S.C. § 1337. Venue lies within this district pursuant to 28

u.s.c. § 1391.
      11.        At all times material herein, Plaintiffs and all similarly-situated employees

have been entitled to the rights, protection and benefits provided under the FLSA, as

amended, 29 U.S.C. § 201, et seq.

                                  Ill. FACTUAL ALLEGATIONS

       12.       Plaintiffs, on behalf of themselves and all those similarly situated, re-

allege and incorporate by reference all paragraphs above as if they were set forth again

herein.

       13.       At all relevant times, Plaintiffs and all others similarly situated have been

entitled to the rights, protection, and benefits provided by the Fair Labor Standards Act.

          14.    At all relevant times, Plaintiffs and all others similarly situated have been

"employees" of Transamerica, as defined by 29 U.S.C. § 203(e).

                                          Page 3 of12
        Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 4 of 15




       15.    At all relevant times, Defendant was the "employer" of Plaintiffs and all

others similarly situated, as defined by 29 U.S.C. § 203(d).

       16.    Transamerica has an annual gross volume of sales exceeding $500,000.

       17.    At all times relevant to this lawsuit, Transamerica created and enforced

company policies and made decisions affecting the wages and hours of its employees,

including Plaintiffs and those similarly situated.

       18.    Transamerica provides, designs, and markets voluntary group life and

supplemental health insurance products underwritten by other Transamerica

companies.

       19.    To perform these services, Transamerica employs individuals as "billing

specialists." These billing specialists are usually scheduled to work nine hour shifts, five

days per week. Billing specialists are also usually required to record a one-hour unpaid

meal break on their timesheets.

       20.    Employees are required to swipe a badge to enter the facility. After

entering their work area, employees must "clock in" using a desk phone. At the end of

the day, employees must "clock out" on the same phone. These punches are analyzed

and employees are given a tardy if they "clock in" more than three minutes after their

scheduled shift begins or "clock out" before their scheduled shift ends.

       21.    Although employees are required to clock in and out on the desk phone,

they are not paid based on the data from the phone. Instead, employees fill out a time

sheet, which is used to calculate their pay. In an email dated December 27, 2012,

Transamerica requested that its employees submit time sheets with specific times they

                                       Page 4 of 12
         Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 5 of 15




requested their employees to work. (Email [Ex. C]). Thus, no matter when employees

clocked in on the phone system, they had to submit specific hours on their time sheets

and were only paid those hours submitted.

         22.   Plaintiffs and putative class members routinely arrive early to work in an

effort to get their work done. For example, Plaintiff Ann Wiseman typically began

working approximately 25 minutes early each day. Wiseman clocked in on her phone

when she began working, but pursuant to the policy and practice at the Little Rock

facility, she wrote down her scheduled start time on her timesheet. As a result,

Wiseman was not paid for the 25 minutes she spent working before her shift.

         23.   Likewise, Plaintiff Sara Howard typically began working approximately

15-30 minutes early and sometimes stayed 15-30 minutes late. She also wrote down her

scheduled start and end times on her timesheet, despite having to clock in on her

phone.

         24.   Plaintiffs and putative class members also routinely work through their

unpaid lunch breaks. At the Little Rock facility, employees are required to record a one-

hour unpaid meal break on their time sheets. Most employees, however, return to work

early to get their work done. For example, Plaintiff Ann Wiseman typically only took a

30 minute lunch break before returning to work. Plaintiff Sara Howard often did not get

any lunch break, and the ones she had were interrupted. Even when employees

returned early, they were required to record a one-hour lunch break on their timesheets.

         25.   Transamerica knows that billing specialists are working before and after

their start time and during unpaid lunch breaks, but it has not taken any actions to keep

                                       Page 5 of12
          Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 6 of 15




employees from working off-the-clock. The data from the desk phones shows that

employees frequently clock in before they are allowed. Despite this knowledge,

Transamerica only disciplines billing specialists if the desk phones show the employee

clocked in late or clocked out early.

                            IV. COLLECTIVE ACTION ALLEGATIONS

          26.   Plaintiffs, on behalf of themselves and all those similarly situated, re-

allege and incorporate by reference all paragraphs above as if they were set forth again

herein.

       27.      Plaintiffs bring this FLSA collective action on behalf of themselves and all

others similarly situated pursuant to 29 U.S.C. §§ 207 and 216(b), specifically, as follows:

                All employees of Transamerica who worked as billing
                specialists at the Little Rock facility within the previous three
                years.

       28.      Upon information and belief, Plaintiffs believe that the definition of the

class may be further refined following discovery of Transamerica' s books and records.

          29.   There are questions of law and fact common to Plaintiffs and all others

similarly situated, which predominate over any questions affecting individual members

only. These factual and legal questions include:

                a.     Whether Transamerica unlawfully failed and continues to
                       fail to compensate Plaintiffs and all others similarly situated
                       for hours worked before their scheduled shift began, after it
                       ended, and during their lunch breaks in violation of the
                       FLSA, 29 U.S.C. § 201 et seq;

                b.     Whether Transamerica unlawfully failed and continues to
                       fail to pay overtime compensation in violation of the FLSA,
                       29 U.S.C. § 201 et seq;

                                          Page 6 of12
        Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 7 of 15




              c.     Whether Transamerica' s failure to pay overtime to Plaintiffs
                     and all others similarly situated was willful within the
                     meaning of the FLSA;
              d.     Whether Transamerica failed and continues to fail to
                     maintain accurate records of actual time worked by Plaintiffs
                     and all others similarly situated;

              e.     Whether Transamerica failed and continues to fail to record
                     or report all actual time worked by Plaintiffs and all others
                     similarly situated;

              f.     Whether Transamerica failed and continues to fail to provide
                     accurate wage statements itemizing all actual time worked
                     and wages earned by Plaintiffs and all others similarly
                     situated;

              g.     The correct statute of limitations for the claims of Plaintiffs
                     and others similarly situated;

              h.     The correct method of calculating back pay;

              i.     Whether Transamerica and all others similarly situated are
                     entitled to compensatory and liquidated damages, and if so,
                     the means of measuring such damages;

              j.     Whether Transamerica is liable for pre-judgment interest;
                     and

              k.     Whether Transamerica is liable for attorneys' fees and costs.

       30.    Plaintiffs' claims are typical of the claims of the class in that they and all

others similarly situated were not paid for their time spent working during their lunch

breaks and before their shift began and after it ended. This is the predominant issue,

which pertains to the claims of Plaintiffs and all others similarly situated.

       31.    The collective action mechanism is superior to other available methods for

a fair and efficient adjudication of the controversy.


                                        Page 7 of12
        Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 8 of 15




        32.   Plaintiffs will fairly and adequately protect the interests of the class

because their interests are in complete alignment with all others similarly situated, i.e.,

to prove and then eradicate Transamerica' s policy of not compensating its employees in

billing specialist positions for working overtime.

        33.   Counsel for Plaintiffs will adequately protect the interests of Plaintiffs and

others similarly situated and is experienced with class and collective litigation and has

previously served as class counsel in FLSA litigation.

        34.   Plaintiffs and the class they represent have suffered and will continue to

suffer irreparable damage from the illegal policy, practice, and custom regarding

Transamerica' s pay practices.

        35.   Transamerica has engaged in a continuing violation of the FLSA.

        36.   Plaintiffs and all others similarly situated were denied overtime

compensation as a result of Transamerica' s pay practices. This violation was intended

by Transamerica and was willfully done.

        37.   Transamerica' s action in denying overtime compensation to Plaintiffs and

all others similarly situated was intentional and constitutes a willful violation of the

FLSA.




                                       Page 8 of12
           Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 9 of 15




                V. CLAIM   I: VIOLATION OF THE FAIR LABOR STANDARDS ACT
                                 F AlLURE TOPAY OVERTIME

          38.   Plaintiffs, on behalf of themselves and all those similarly situated, re-

allege and incorporate by reference all paragraphs above as if they were set forth again

herein.

          39.   The FLSA requires Transamerica, as a covered employer, to compensate

all non-exempt employees for all hours worked and to compensate all non-exempt

employees at a rate of not less than one and one-half times their regular rate of pay for

work performed in excess of forty (40) hours in a work week.

      40.       Plaintiffs and all others similarly situated are entitled to compensation for

all hours Transamerica "suffered or permitted" them to work.

      41.       Plaintiffs and all others similarly situated are entitled to be paid overtime

compensation for all overtime hours worked.

      42.       At all times relevant to this lawsuit, Transamerica, pursuant to its policies

and practices, failed and refused to compensate Plaintiffs and all others similarly

situated for work performed in excess of forty (40) hours per week.

          43.   At all times relevant to this lawsuit, Transamerica has engaged, and

continues to engage, in a willful policy, pattern, and/ or practice of requiring or

permitting its non-exempt, hourly employees, including Plaintiffs and all others

similarly situated, to perform work in excess of forty (40) hours per week without

proper compensation.




                                         Page 9 of12
       Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 10 of 15




       44.    At all times relevant to this lawsuit, the overtime work performed by

Transamerica' s non-exempt employees, including Plaintiffs and all others similarly

situated, was and continues to be required or permitted by Transamerica and for the

benefit of Transamerica. This overtime work is also directly related to such employees'

principal employment and is an integral and indispensable part of such employees'

employment with Transamerica.

       45.    Transamerica violated and continues to violate the FLSA, 29 U.S.C. § 201,

et seq., including 29 U.S.C. §§ 207(a)(1) and 215(a), by failing to pay Plaintiffs and all

others similarly situated for all hours actually worked and by failing to pay them at

least one-and-one-half times their regular rates of pay for all hours worked in excess of

forty (40) in a workweek. These violations of the FLSA were knowing and willful within

the meaning of 29 U.S.C. § 201, et seq.

       46.    The FLSA imposes specific employment record-keeping requirements,

including the obligation to keep accurate records of all hours worked. By failing to

record, report, and/ or preserve records of hours worked by Plaintiffs and all others

similarly situated, Transamerica has failed to make, keep, and preserve records with

respect to each of their employees sufficient to determine their wages, hours, and other

conditions and practice of employment, in violation of the FLSA, 29 U.S.C. § 201, et seq.,

including 29 U.S.C. §§ 211(c) and 215(a). These violations of the FLSA were knowing

and willful within the meaning of 29 U.S.C. § 201, et seq.

       47.    As a result of Transamerica's violations of law, Plaintiffs and all others

similarly situated are entitled to recover from Transamerica the amount of their unpaid

                                          Page 10 of 12
       Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 11 of 15




wages and overtime compensation, an additional equal amount as liquidated damages

as provided by the FLSA, 29 U.S.C. § 216(b), pre and post-judgment interest, attorneys'

fees, litigation expenses and court costs pursuant to 29 U.S.C. § 216(b), and such other

legal and equitable relief as the Court deems just and proper.

                       VI. PRAYER FOR RELIEF AND JURY DEMAND

       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly

situated respectfully request this Court:

              a.     Certify this action as a collective action for all claims under the Fair
                     Labor Standards Act;

              b.     Enter a declaratory judgment that the practices complained of
                     herein are unlawful under Federal law;

              c.     Enter a permanent injunction restraining and preventing
                     Transamerica from withholding the compensation that is due to its
                     employees, from retaliating against any of them for taking part in
                     this action, and from further violating their rights under the Fair
                     Labor Standards Act;

              d.     Enter an Order for complete and accurate accounting of all the
                     compensation to which Plaintiffs and all others similarly situated
                     are entitled;

              e.     Award Plaintiffs and all others similarly situated compensatory
                     damages in an amount equal to the unpaid back wages at the
                     applicable overtime rate from a period from three (3) years prior to
                     this lawsuit through the date of trial;

              f.     Award Plaintiffs and all others similarly situated liquidated
                     damages in an amount equal to their compensatory damages;

              g.     Award Plaintiffs and all others similarly situated all recoverable
                     costs, expenses, and attorneys' fees incurred in prosecuting this
                     action and all claims, together with all applicable interest;



                                       Page 11 of12
Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 12 of 15




     h.   Grant Plaintiffs and all others similarly situated all such further
          relief as the Court deems just and appropriate.

     i.   Plaintiffs and all others similarly situated demand a jury trial on all
          issues so triable.


                               Respectfully submitted
                               thi~ay of August, 2014,


                           s~O~
                           JohnHollan- AR Bar #91056
                               jholleman@johnholleman.net
                               Maryna 0. Jackson- AR Bar #2009111
                               maryna@johnholleman.net
                               Timothy A. Steadman - AR Bar #2009113
                               tim@johnholleman.net

                               HOLLEMAN & ASSOCIATES, P.A.
                               1008 West Second Street
                               Little Rock, Arkansas 72201
                               Tel. 501.975.5040
                               Fax 501.975.5043

                               and

                               Lloyd "Tre" Kitchens, ABN 99075
                               THE BRAD HENDRICKS LAW FIRM
                               500 C Pleasant Valley Drive
                               Little Rock, AR 72227
                               Telephone (501) 588-0549
                               Facsimile (501) 661-0196




                           Page 12 of12
         Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 13 of 15




                               Transamerita Worksite Marketing



                                 PLAINTIFF CONSENT FORM



                                       CONSENT TO JOIN

       I hereby consent to join the action as a Plaintiff against the above referenced Defendant

or any other individual or entity who may be liable as an employer under the Fair Labor

Standards Act. If this case does not proceed collectively, I also consentto join any subsequent

action to assert claims against above referenced Defendants for violations of the Fair Labor

Standards Act. As an employee or former employee of above referenced Defendant, I consent to

becoming a party Plaintiff to this lawsuit, to be represented by HOLLEMAN & ASSOCIATES,

P.A., and THE BRAD HENDRICKS LAW FIRM, and to be bound by any settlement ofthis

action or adjudication of the court.



AN.NE\W.i~
Print Name

 Da
Signature
            .£.<   bb~o--
   4/u~fl1
Date

                                                                                                        -

                                                                                                   EXHIBIT

                                                                                          I         A
                                                                                                    •
      Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 14 of 15
Ma~ 05 14 10:06a             Sar-a Howar-d                              501-847-6496                         p.4




                                    Transamerlca Worksite Marketing



                                      PLAINTIFF CONSENT FORM



                                            CONSENT TO JOIN

            I hereby consent to join the action as a Plaintiff against the above referenced Defendant

    or any other individual or entity who may be liable as an employer under the Fair Labor

    Standards Act. 1f this case does not proceed collectively, I also consent to join any subsequent

    action to assert claims against above referenced Defendants for violations of the Fair Labor

    Standards Act. As an employee or former employee of above referenced Defendant, I consent to

    becoming a party Plaintiff to this lawsuit, to be represented by HOLLEMAN & ASSOCIATES,

    P.A., and THE BRAD HENDRICKS LAW FIRM, and to be bound by any settlement of this

    action or adju<lication of the court.




    Print Name

   ~\:.\(\.,a
    Signature

     c:~5\D~\L\
    Date




                                                                                    ----
                                                                                                        -   ---·-


                                                                                                    EXHIBIT

                                                                                             I          :B
                 Case 4:14-cv-00478-BRW Document 1 Filed 08/15/14 Page 15 of 15


Wiseman Ann
From:                      Lemons, Patti
Sent:                      Thursday, December 27, 2012 3:28PM
To:                        TEB_Bllllng & Eligibility
Subject:                   Hours for rest of Week

Importance:                High


Due to the weather conditions we have been having and the need to ensure we meet the business needs for year-end,
we are asking that all people plan to work the following:
Today·please leave at your regular time.
Friday· please plan to work at least 10 hours between the hours of 7am-7pm. You may choose to take a 30 min or 1
hour lunch.
Saturday-we will work from 7am-430pm with a 30 min lunch. We will be providing lunch.
We will be evaluating our needs for Sunday.

We appreciate all of you working with us, and we are certainly sorry to ask you to work additional time. However, the
business needs for year-end impact each of us, as well as the organization. As we get closer to Monday, New Year's Eve,
we will be evaluating the business needs; and we will let you know the plan in as much advance as we possibly can.

Pleqse IUbmlt your tfme shuts TODAY with fhe hours listed qbove. If we realize that these hours need adjusted due to
workload, we will adjust and then adjust time sheets.

Thank you all IIIII




                                                                                                         EXHIBIT
                                                          1                                                c
